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                       UNITED STATES DISTRICT COURT
                   IN THE EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

CLARA BEAL, Personally and in                 )
Her capacity as Guardian/                     )
Conservator of GLENN BEAL,                    )
and CLARA BEAL, Individually,                 )
                                              )
      Plaintiff,                              )           Case No:
                                              )
vs.                                           )
                                              )
CANADIAN NATIONAL RAILROAD                    )
and/or NORTH AMERICAN RAIL                    )
SOLUTIONS, LLC and/or FLINT RAIL              )
SOLUTIONS, LLC, GENERAL MOTORS                )
COMPANY, and/or GENERAL MOTORS                )
CORPORATION, and/or GENERAL                   )
MOTORS, LLC, DESHAN IJUAN POLK,               )
and TANESCIA SHAFONE RUSSEY,                  )
                                              )
      Defendants.                             )
                                              )

          GENERAL MOTORS LLC’S NOTICE OF REMOVAL

      Defendant General Motors LLC (“New GM”) through its attorneys,

COLLINS EINHORN FARRELL PC, hereby removes this action from the

Genesee County Circuit Court to the United States Eastern District of

Michigan, Southern Division, pursuant to 28 U.S.C. §§ 1441 and 1452, and

Bankruptcy Rule 9027. In support of this removal, New GM states as follows:
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                              BACKGROUND

      1. On September 17, 2019, New GM was served with a Summons and

Complaint in an action styled as Clara Beal, Personally and in her capacity as

Guardian/Conservator of Glenn Beal, Individually, v Canadian National Railroad,

et al., Case No. 19-113209-NI, filed on August 22, 2019 in the Genesee County

Circuit Court (the Action”). Copies of the Summons and Complaint are

attached hereto as Exhibit A.

      2.      This is an action allegedly arising out of a September 1, 2016

incident. Plaintiff’s ward, Glenn Beal, was a pedestrian who was struck by

motor vehicles operated by Defendant Polk and Defendant Russey. Plaintiff

has filed automobile negligence actions against Defendant Polk and

Defendant Russey. Defendant Polk was allegedly operating a motor vehicle

that he unlawfully stole from the lot it was stored in. That lot was operated

by North American Rail Solutions and is located on the premises owned by

General Motors. Plaintiff has asserted liability against Defendants NARS

and GM related to Mr. Polk’s theft of the vehicle.

      3.      While Plaintiff’s complaint is vague and ambiguous, Plaintiff

appears to seek damages against New GM against, in general, based on

negligence.

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     4.      Plaintiff has also brought this action against General Motors

Corporation, making the same allegations as against New GM.

                           BASIS FOR REMOVAL

     5.      This Action is properly removable because it is a civil proceeding

that (i) arises under 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”); (ii)

arises in a case under the Bankruptcy Code; and/or (iii) is related to a case

under the Bankruptcy Code. This Court thus has jurisdiction pursuant to 28

U.S.C. §§ 157(b), 1331, and 1334(b), and removal to this Court is proper under

28 U.S.C. §§ 1452(a), as well as Rule 9027 of the Federal Rules of Bankruptcy

Procedure.

     6.      On June 1, 2009, Motors Liquidation Company, f/k/a General

Motors Corporation (“Old GM”) filed a petition under Chapter 11 of the

Bankruptcy Code in the United States Bankruptcy Court for the Southern

District of New York (“New York Bankruptcy Court”). On July 5, 2009, the

New York Bankruptcy Court issued an order (“Sale Order and Injunction”)

approving the sale (“363 Sale”) of substantially all of Old GM’s assets to the

predecessor of New GM. The sale of assets was free and clear of all liens,

claims and encumbrances, except for certain limited exceptions. See Sale

Order and Injunction, attached hereto as Exhibit B, ¶ 7. The 363 Sale was

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consummated on July 10, 2009. Ultimately, certain assets of Old GM were

transferred to New GM and New GM also assumed certain limited liabilities,

as described in the Sale Order and Injunction and Amended and Restated

Master Sale and Purchase Agreement (“Sale Agreement”).

        7.      Although New GM’s purchase of Old GM’s assets closed on July

10, 2009, Old GM’s bankruptcy case is still open. Thus, by expressly naming

Old GM as a defendant in this action, Plaintiff has brought this action against

a debtor in bankruptcy. See Complaint.1

        8.      This case is a civil proceeding that arises under 11 U.S.C. §§ 101

et seq.; arises in a case under the Bankruptcy Code; and/or is related to a case

under the Bankruptcy Code because Plaintiff has named a debtor in

bankruptcy. Federal jurisdiction is proper where any recovery could affect

the value of the bankruptcy estate. In re Dow Corning Corp., 86 F.3d 482, 489-

90 (6th Cir. 1996), citing Pacor, Inc. v. Higgins, 743 F.2d 984, 994 (3d Cir. 1984)

(“The usual articulation of the test for determining whether a civil

proceeding is related to bankruptcy is whether the outcome of that

proceeding could conceivably have any effect on the estate being



1
 Old GM was dissolved on December 15, 2011. Notwithstanding this fact, because Plaintiff has named Old GM and
because its bankruptcy case remains open, federal court jurisdiction is proper, as set forth in ¶ 8, infra.


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administered in bankruptcy.”) (emphasis omitted), overruled in part on

other grounds by Things Remembered, Inc. v. Petrarca, 516 U.S. 124, 124-25

(1995); In re Fietz, 852 F.2d 455, 457 (9th Cir. 1988) (same); Zerand-Bernal Group,

Inc. v. Cox, 23 F.3d 159, 161 (7th Cir. 1994) (“The reference to cases related to

bankruptcy cases is primarily intended to encompass tort, contract, and

other legal claims by and against the debtor, claims that were it not for

bankruptcy, would be ordinary standalone lawsuits between the debtor and

others but that section 1334(b) allows to be forced into bankruptcy court”);

Coar v. Nat’l Union Fire Ins. Co., 19 F.3d 247, 249 (5th Cir. 1994) (possibility

that damages award would be paid by the debtors estate was sufficient to

establish federal jurisdiction); In re Scanware, Inc., 411 B.R. 889, 894-95 (Bankr.

S.D. Ga. 2009) (“There is no question that the underlying state court action

against Debtor is at least ‘related to’ Debtor’s bankruptcy. A finding against

Debtor would alter its rights, liabilities, options, and freedom of action and

impact the administration of its bankruptcy estate.”). See also Tomassi v.

MDS, Inc., No. 5:12-CV-00201, 2013 U.S. Dist. LEXIS 54719, at *4-6 (W.D. Ky.

April 16, 2013) (“The Sixth Circuit has adopted the expansive definition of a

‘related to’ proceeding. . . . The Court finds the instant case is ‘related to’




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Plaintiff’s bankruptcy because, first, it could conceivably impact the

handling and administration of the bankrupt estate.”).

      9.     As such, this case arises under the Bankruptcy Code, arises in a

case under the Bankruptcy Code, and/or is related to a case under the

Bankruptcy Code because Plaintiff has named a debtor in bankruptcy, and

is therefore removable to this Court under 28 U.S.C. §§ 1452(a) and/or

1441(b) and/or Bankruptcy Rule 9027.

                           REMOVAL IS TIMELY

      10.    This Notice of Removal is timely because it is being filed within

30 days after New GM was served with the Summons and Complaint. 28

U.S.C. § 1446(b). Plaintiff filed suit on August 22, 2019, and New GM was

served with the Summons and Complaint on September 17, 2019. See

Exhibit A.

                                   VENUE

      11.    Venue is proper in this District Court pursuant to 28 U.S.C. §

1441(a) because the action was originally filed in the Genesee County Circuit

Court, which lies within the United States District Court for the Eastern

District of Michigan, Southern Division. 28 U.S.C. § 93(a)(1).




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      12.   Pursuant to 28 U.S.C. § 1441(a), a civil action brought in a state

court over which the United States District Court has original jurisdiction

may be removed to the District Court embodying the place where such

action is pending. Because Plaintiff’s Complaint was filed in the Genesee

County Circuit Court, the Eastern District of Michigan, Southern Division

has removal jurisdiction over the matter. Thus, venue of this removed action

is proper in this Court.

                                    CONSENT

      13.   This action is being removed on the basis of bankruptcy

jurisdiction. Thus, the consent of all properly joined and served defendants

is not required. In re WorldCom, Inc. Sec. Litig., 293 B.R. 308, 330 (S.D.N.Y.

2003) (“It seems clear that Section 1452(a) does not require the defendants’

unanimous consent to removal.”).

     ALL PROCEDURAL REQUIREMENTS FOR REMOVAL ARE
                       SATISFIED

      14.   A copy of pleadings filed in the Action are attached hereto as

Group Exhibit C.




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     15.   Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal

is being served on all adverse parties and filed with the Circuit Court of

Genesee County, where this case was originally filed.

     WHEREFORE, General Motors LLC respectfully requests that this

Action in the Genesee County Circuit Court, be removed to this Court, and

that no further proceedings be had in the Genesee County Circuit Court.

                                       Respectfully submitted,

                                       COLLINS EINHORN FARRELL PC

                               BY:     /s/ Matthew S. LaBeau
                                       Matthew S. LaBeau (P69730)
                                       Attorney for Defendants NARS and GM
                                       4000 Town Center, 9th Floor
                                       Southfield, MI 48075
                                       (248) 355-4141
Dated: October 17, 2019


                                PROOF OF SERVICE

  THE UNDERSIGNED CERTIFIES THAT THE FOREGOING INSTRUMENT WAS SERVED UPON
  ALL PARTIES TO THE ABOVE CAUSE TO EACH OF THE ATTORNEYS OF RECORD HEREIN AT
  THEIR RESPECTIVE ADDRESSES DISCLOSED IN THE PLEADINGS ON OCTOBER 17, 2019, BY:

      U.S. MAIL       FEDERAL EXPRESS  _____ E-MAIL          HAND DELIVERY
                     FAX    X E-FILE & SERVE

                            SIGNATURE: /s/ Julie A. Staley
                                    JULIE A. STALEY




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